              Case 1:11-cv-00324-SM Document 1 Filed 06/30/11 Page 1 of 3



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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE,
                                                                                 \ n 30 A ft 2 b
+***+**+*+++++++++++++++++++++++++*++++*+++
WAYNE J. JEWELL                                      *
                                                     *
       Plaintiff,                                    *              CIVIL ACTION                                                  NO./'/S'^f
                                                     *
                                                     *
vs.
                                                     *
UNITED STATES                                        *

       Defendant.                                    *
*******************************************

                                  RENEWED
              COMPLAINT FOR MALPRACTICE AT A GOVERNMENT FACILITY

       Plaintiff Wayne J. Jewell (hereinafter "Plaintiff") complains and alleges
as follows:
                                 JURISDITION AND VENUE


1.     This claim arises under the laws of the United States, namely the Federal Tort Claims Act
       (28 U.S.C. § 1346(b). Jurisdiction is proper under 28 U.S.C. Sec. 1331.

2.     Venue is proper in this Judicial District under 28 U.S.C. Sees. 1391 (b) in that the
       Defendants, listed below, transacted business within this Judicial District and a
       substantial part of the events or omissions giving rise to the claim herein occurred with
       this Judicial District.

3.     The Plaintiff has advised the Veteran's Administration, infta, of the sum certain he is
       seeking and his claim has been rejected.

                                      THE DEFENDANT

1.     The Defendant is the United States pursuant to 28 U.S.C. 1346.
             Case 1:11-cv-00324-SM Document 1 Filed 06/30/11 Page 2 of 3
                                                    2


                                            THE ACTORS

1.    Department of Veterans Affairs of the United States of America, 275 Chestnut Street,
Manchester NH 03101

2.    Dr. Johann Rothwangl, Department of Veterans Affairs of the United States of America,
275 Chestnut Street, Manchester NH 03101

3.     Dr. Joseph Rivet, Department of Veterans Affairs of the United States of America, 275
Chestout Street, Manchester NH 03101

                                               COUNT I

                          Physician Malpractice at a Government Hospital

4.     Plaintiff is an Honorably Discharged Veteran that has been maltreated at the Manchester
VA Medical Center, 718 Smyth Road, where he was seriously injured by malpractice at the facility
which has resulted in unnecessary and ongoing pain and suffering.

5      About October, 2009 Plaintiff went to the Manchester VA Medical Center for an
appointment and, much to his surprise, was told to go to same day surgery for a colonoscopy, for
which Plaintiff did not have any prior preparation.

6.      The work was done by Dr. Rothwangel in the initial presence of PlaintifTs original health
care doctor. Dr. Rivet, after he was given a shot When Plaintiff work up. Dr. Rothwangel said
everything was fine, but as a result of that procedure Plaintiff developed painful hemorrhoids,
rectal bleeding, and a urine infection.

7.     It is Plaintiff understanding that under the Federal Tort Claim Act, he had to first notify
the Defendant Federal Agency, and give an opportunity to settle the matter before Plaintiff could
purse his claim further in the Federal Court. Plaintiff has done so.

        28 C.F.R 171 §2675 PROVIDES AS FOLLOWS:

(a) An action shall not be instituted upon a claim against the United States for money damages for injury or
loss of property or personal injury or death caused by the negligent or wrongful act or omission of any
employee of the Government while acting within the scope of hb office or employment, unless the claimant
shall have first presented the claim to the appropriate Federal agency and his claim shall have been finally
denied by the agency in writing and sent by certified or registered mail. The failure of an agency to make
final disposition of a claim within six months after it isfiledshall, at the option of the claimant any time
thereafter, be deemed afinaldenial of the claim for purposes of this section.

8.      An original letter pursuant to 28 C.F.R. 171 was sent to Defendant Department of Veterans
Affairs on or about December 21,2009. A subsequent letter was sent later

9        PlaintifTs claim pursuant to both letters was rejected by Defendant Department of Veterans
Affairs.

10.    Plaintiff hereby challenges the both rejection.


                                                    2
              Case 1:11-cv-00324-SM Document 1 Filed 06/30/11 Page 3 of 3
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       Wherefore, Plaintiffs demands a jury assessment of the true facts of this case and an
award of damages OF AT LEAST $1,000,000, in accordance with his second letter to the
Veterans' Administration to compensate Plaintiff for his pain and suffering as aresultof the
malpractice claimed by Plaintiff, as well as an assessment of interest and costs against
Defendants.




                                          Jury Demand

       Plaintiffs hereby demand a jury trial on all issues that are determinable by jury.

                                      Wayne J. Jewell, Plaintiff


                                         IS/ Wayne J. Jewell
                                     Wayne J. Jewell
                                     33 Highland Avenue, Apt. 36
                                     Rochester, NH 03868
                                     603-332-8271




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